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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                              Chapter 11
                            1
FRESH & EASY, LLC,
                                                              Case No. 15-12220 (BLS)
                                      Debtor.

Official Committee of Unsecured Creditors of
Fresh & Easy, LLC,
                                      Plaintiff,
vs.
                                                              Adv. No. Refer to Summons
First Data Corporation dba ValueLink, LLC,
                                   Defendant.

     COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO 11 U.S.C. §§
     547, 548, 549 AND 550 AND TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502

         The Official Committee of Unsecured Creditors (the “Committee” or “Plaintiff”) of Fresh

 & Easy, LLC, the above-captioned debtor and debtor-in-possession (the “Debtor”), by and

 through its undersigned counsel, files this complaint (the “Complaint”) to avoid and recover

 transfers against First Data Corporation dba ValueLink, LLC (the “Defendant”) and to disallow

 any claims held by Defendant. In support of this Complaint, Plaintiff alleges upon information

 and belief that:

                                               NATURE OF THE CASE

         1.     Plaintiff seeks to avoid and recover from Defendant, or from any other person or

 entity for whose benefit the transfers were made, all preferential transfers of property that

 occurred during the ninety (90) day period prior to the commencement of the bankruptcy

 proceedings of the Debtor pursuant to sections 547 and 550 of chapter 11 of title 11 of the United

 States Code (the “Bankruptcy Code”). Subject to proof, Plaintiff also seeks to avoid and recover

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    The last four digits of the Debtor's federal taxpayer identification number are 8906. The Debtor's mailing address
 is 20101 Hamilton Avenue, Suite 350, Torrance, CA 90502.

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from Defendant or any other person or entity for whose benefit transfers were made pursuant to

sections 548 and 550 of the Bankruptcy Code any transfers that may have been fraudulent

conveyances. Plaintiff also seeks to avoid and recover from Defendant or any other person or

entity for whose benefit transfers were made pursuant to sections 549 and 550 of the Bankruptcy

Code any transfers that were made after the Debtor commenced its bankruptcy case and which

transfers were not authorized by the Bankruptcy Code or this Court.

       2.     In addition, Plaintiff seeks to disallow, pursuant to sections 502(d) and (j) of the

Bankruptcy Code, any claim that Defendant has filed or asserted against the Debtor or that has

been scheduled for Defendant. Plaintiff does not waive but hereby reserves all of its rights and

the rights of the Debtor to object to any such claim for any reason, including, but not limited to,

any reason set forth in sections 502(a) through (j) of the Bankruptcy Code.

                                JURISDICTION AND VENUE

       3.     This court has subject matter jurisdiction over this adversary proceeding, which

arises under title 11, arises in, and relates to cases under title 11, in the United States

Bankruptcy Court for the District of Delaware (the “Court”), captioned In re Fresh & Easy,

LLC, Case No. 15-12220 (BLS), pursuant to 28 U.S.C. §§ 157 and 1334(b).

       4.     The statutory and legal predicates for the relief sought herein are sections 502,

547, 548, 549 and 550 of the Bankruptcy Code and Rules 3007 and 7001 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

       5.     This adversary proceeding is a “core” proceeding to be heard and determined by

the Court pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter final orders for matters

contained herein.

       6.     Venue is proper in this district pursuant to 28 U.S.C. § 1409.



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       7.     Pursuant to Local Bankruptcy Rule 7008-1, Plaintiff states that it does consent to

the entry of final orders or judgments by the Court if it is determined that the Court, absent

consent of the parties, cannot enter final orders or judgments consistent with Article III of the

United States Constitution.

                              PROCEDURAL BACKGROUND

       8.     On October 30, 2015 (the “Petition Date”) the Debtor commenced a case by filing

a voluntary petition for relief in this Court under chapter 11 of the Bankruptcy Code. [D.I. 1.]

No trustee has been appointed, and the Debtor continues to operate its business and manage its

properties as debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       9.     On November 10, 2015, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed the Committee. [D.I. 101]. On November 18, 2015,

the U.S. Trustee appointed two additional members to the Committee. [D.I. 165].

       10.    On August 16, 2016, the Committee and the Debtor filed a stipulation (the

“Stipulation”) which granted the Committee and its successors in interest standing to pursue

certain causes of action under Chapter 5 of the Bankruptcy Code. [D.I. 1138]. An order

approving the Stipulation was entered by the Court on September 13, 2016 (the “Stipulation

Order”). [D.I. 1204].

       11.    Pursuant to the schedules filed in this matter, the Debtor’s liabilities exceed its

assets and therefore general unsecured claims are not expected to be paid in full. [D.I. 411].

                                        THE PARTIES

       12.    Pursuant to the Stipulation and Stipulation Order, the Committee is authorized

and has standing to investigate, pursue, commence, prosecute, compromise, settle, or otherwise




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    resolve certain causes of action under chapter 5 of the Bankruptcy Code, including the instant

    avoidance action.

           13.    Upon information and belief, Defendant was, at all relevant times, a vendor or

    creditor that provided payment technology solutions to or for the Debtor. Upon further

    information and belief, at all relevant times, Defendant’s principal place of business is located at

    5565 Glenridge Connector, NE, Suite 2000, Atlanta, GA 30342. Plaintiff is informed and

    believes and on that basis alleges that Defendant is a corporation residing in and subject to the

    laws of the State of Delaware.

                                     FACTUAL BACKGROUND

           14.    As more fully discussed in the Declaration of Amir Agam Chapter 11 Petition

    and First Day Motions,2 the Debtor operated a chain of grocery stores in the Southwest United

    States which focused on offering high quality, freshly prepared and ready-to-eat products. In

    2013, the entities then comprising the “Fresh & Easy” brand filed voluntary chapter 11

    petitions. As part of a sale process held in the 2013 bankruptcy, YFE Holdings, Inc. (“YFE”)

    formed three subsidiaries, each a Delaware limited liability company with YFE as its sole

    member: (i) the Debtor, (ii) non-debtor FEFOS, LLC (“FEFOS”), and (iii) non-debtor Fresh

    Foods, LLC (f/k/a Campus Opco, LLC) (“Fresh Foods”). As part of the sale process in the prior

    chapter 11 case, certain real estate was transferred to Fresh Foods, certain other real estate was

    ultimately transferred to FEFOS, and certain leases were transferred to the Debtor.

           15.    Prior to the Petition Date, the Debtor, as an operator of a chain of grocery stores,

    maintained business relationships with various business entities, through which the Debtor

    regularly purchased, sold, received, and/or delivered goods and services.



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    D.I. 10.

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       16.     As an operator of a chain of grocery stores, the Debtor regularly purchased goods

from various entities including vendors, creditors, suppliers and distributors. The Debtor also

regularly paid for services used to facilitate its business.

       17.     The Debtor’s financial difficulties that led to the decision to file the bankruptcy

case are attributable to a combination of factors, all of which placed significant stress on the

Debtor’s liquidity position in the months leading up to the Petition Date. These factors included,

among other things: (i) market competition which was exacerbated by mega-retailers and

specialty grocery chains entering the grocery business in recent years; (ii) consistent operating

losses stemming from, among other things, onerous lease obligations and underperforming

retail locations, and (iii) an inability to achieve profitability after the previous chapter 11

bankruptcy. As documented in the schedules filed by the Debtor, as of the Petition Date, the

Debtor’s liabilities far exceeded its assets.

       18.     As of the Petition Date, the Debtor utilized a cash management system (the “Cash

Management System”) for the collection, concentration, management, and disbursement of

funds in the Debtor’s business. As of the Petition Date, the Cash Management System consisted

of bank accounts including: deposit/collections accounts, master depository and operating

accounts, six disbursement accounts, and separate cash collateral and borrowing base accounts,

all of which were held at Wells Fargo Bank, N.A. (“Wells Fargo”). [See Debtor’s cash

management motion, D.I. 17]. While certain non-debtor affiliates held bank accounts at Wells

Fargo, the Debtor and the affiliates each had their own discrete set of bank accounts, designed

to provide each entity with their own set of depository, operating, and disbursement accounts.

Id.




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      19.     Among the Debtor’s bank accounts, disbursement to vendors were made from the

following six accounts: a general accounts payable account ending in 1208, a wire transfer

account ending in 8988, a payroll account ending in 8962, an account to provide cash to store

registers ending in 9036, an account ending in 1147 for repairs and maintenance with respect to

certain leases, and an account ending in 9010 for payments to alcohol vendors (collectively, the

“Disbursement Accounts”). [See D.I. 17].

      20.     The Debtor drew upon the Disbursement Accounts to pay for its operational costs,

including payments to its vendors, suppliers, distributors, and other creditors, including

Defendant.

      21.     During the ninety (90) days before the Petition Date, that is between August 1,

2015, and October 30, 2015 (the “Preference Period”), the Debtor continued to operate its

business affairs, including the transfer of property, either by checks, cashier checks, wire

transfers, ACH transfers, direct deposits or otherwise to various entities, including to Defendant.

      22.     Upon information and belief, during the course of their relationship, the

Defendant and the Debtor entered into agreements, which are evidenced by invoices,

communications and other documents (collectively, the “Agreements”). Upon further

information and belief, the Agreements concerned and related to the goods and/or services

provided by Defendant to the Debtor as described in the “Parties” section of this Complaint.

The details of each of the Agreements paid for during the Preference Period are set forth on the

Statement of Account, which is attached hereto and incorporated by reference as Exhibit A.

Such details include “Invoice Number,” “Invoice Date,” and “Invoice Amount.”

      23.     The Debtor and Defendant conducted business with one another through and

including the Petition Date pursuant to the Agreements.



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      24.     As identified in the Agreements identified on Exhibit A, the Debtor purchased

goods and/or services from Defendant.

      25.     Plaintiff has completed an analysis of all readily available information of the

Debtors and is seeking to avoid all of the transfers of an interest of the Debtor’s property made

by the Debtor to Defendant within the Preference Period.

      26.     Plaintiff has determined that the Debtor made transfer(s) of an interest of the

Debtor’s property to or for the benefit of Defendant during the Preference Period through

payments aggregating to an amount not less than $22,817.42 (the “Transfer” or “Transfers”).

The details of each Transfer are set forth on Exhibit A attached hereto and incorporated by

reference. Such details include “Check Number,” “Check Amount,” “Check Clear Date,” and

“Debtor Transferor.” Additionally, to the extent there are any transfers that cleared the

Disbursement Account(s) after the Petition Date (the “Post-Petition Transfers”), such amounts

are listed on Exhibit A and incorporated herein by reference.

      27.     During the course of this proceeding, Plaintiff may learn (through discovery or

otherwise) of additional transfers made to Defendant during the Preference Period. It is

Plaintiff’s intention to avoid and recover all transfers made by the Debtor of an interest of the

Debtor in property and to or for the benefit of Defendant or any other transferee. Plaintiff

reserves its right to amend this original Complaint to include: (i) further information regarding

the Transfer(s), (ii) additional transfers, (iii) modifications of and/or revision to Defendant’s

name, (iv) additional defendants, and/or (v) additional causes of action authorized by the

Stipulation and Stipulation Order, if applicable (collectively, the “Amendments”), that may

become known to Plaintiff at any time during this adversary proceeding, through formal

discovery or otherwise, and for the Amendments to relate back to this original Complaint.



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                                    CLAIMS FOR RELIEF

                                        COUNT I
                   (Avoidance of Preference Period Transfers – 11 U.S.C. § 547)

      28.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

      29.     During the Preference Period, the Debtor made Transfer(s) to or for the benefit of

Defendant in an aggregate amount not less than $22,817.42.

      30.     Each Transfer was made from one of the Disbursement Accounts described supra,

and each constituted a transfer of an interest in property of the Debtor.

      31.     Defendant was a creditor of the Debtor at the time of each Transfer by virtue of

supplying the goods and/or services identified in this Complaint and in the Agreements to the

Debtor, as more fully set forth on Exhibit A hereto, for which the Debtor was obligated to pay

following delivery in accordance with the Agreements.

      32.     Each Transfer was to or for the benefit of a creditor within the meaning of 11

U.S.C. § 547(b)(1) because each Transfer either reduced or fully satisfied a debt or debts then

owed by the Debtor to Defendant. See Exhibit A.

      33.     Each Transfer was made for, or on account of, an antecedent debt or debts owed

by the Debtor to Defendant before such Transfer(s) were made, as asserted by Defendant and

memorialized in the Agreements, each of which constituted a “debt” or “claim” (as those terms

are defined in the Bankruptcy Code) of Defendant prior to being paid by the Debtor. See

Exhibit A.

      34.     Each Transfer was made while the Debtor was insolvent. Plaintiff is entitled to the

presumption of insolvency for each Transfer made during the Preference Period pursuant to 11

U.S.C. § 547(f).

      35.     Each Transfer was made during the Preference Period. See Exhibit A.

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      36.     As a result of each Transfer, Defendant received more than Defendant would have

received if: (i) the Debtor’s case was under chapter 7 of the Bankruptcy Code; (ii) the

Transfer(s) had not been made; and (iii) Defendant received payments of its debts under the

provisions of the Bankruptcy Code. As evidenced by the Debtor’s schedules filed in the

underlying bankruptcy case as well as the proofs of claim that have been received to date, the

Debtor’s liabilities exceed its assets to the point that unsecured creditors will not receive a full

payout of their claims from the Debtor’s bankruptcy estate.

      37.     In accordance with the foregoing, each Transfer is avoidable pursuant to 11

U.S.C. § 547(b).

                                      COUNT II
            (Avoidance of Fraudulent Conveyances – 11 U.S.C. § 548(a)(1)(B))

      38.     Plaintiff hereby incorporates all previous allegations as though fully set forth

herein.

      39.     To the extent one or more of the Transfer(s) identified on Exhibit A was not made

on account of an antecedent debt, or was a prepayment for goods and/or services subsequently

received, and/or was a debt incurred by a non-debtor but paid by the Debtor, Plaintiff pleads in

the alternative that the Debtor did not receive reasonably equivalent value in exchange for such

transfer(s) (the “Potentially Fraudulent Transfers”); and

              A.      The Debtor was insolvent as of the date of the Transfer(s), or became

                      insolvent as a result of the Transfer(s); or

              B.      The Debtor was engaged, or about to engage, in business or a transaction

                      for which any property remaining with the Debtor or for whose benefit the

                      Transfer(s) was made was an unreasonably small capital; or




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                C.     The Debtor intended to incur, or believed it would incur, debts beyond its

                       ability to pay upon maturity.

       40.      Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

pursuant to 11 U.S.C. § 548(a)(1)(B).

                                        COUNT III
             (Avoidance of Unauthorized Post-Petition Transfers – 11 U.S.C. § 549)

       41.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

       42.      To the extent any of the Transfer(s) identified on Exhibit A cleared the

Disbursement Account after the Petition Date, including any Post-Petition Transfers currently

listed and identified on Exhibit A, and were not authorized by the Court or the Bankruptcy Code,

Plaintiff pleads in the alternative that such Post-Petition Transfers are avoidable pursuant to 11

U.S.C. § 549.

                                         COUNT IV
                       (Recovery of Avoided Transfers – 11 U.S.C. § 550)

       43.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

       44.      Plaintiff is entitled to avoid the Transfer(s) pursuant to 11 U.S.C. § 547(b), any

Potentially Fraudulent Transfers pursuant to 11 U.S.C. § 548, and/or any Post-Petition Transfers

pursuant to 11 U.S.C. § 549 (collectively, the “Avoidable Transfers”).

       45.       Defendant was the initial transferee of the Avoidable Transfer(s) or the

immediate or mediate transferee of such initial transferee or the person for whose benefit the

Avoidable Transfer(s) were made.

       46.      Pursuant to 11 U.S.C.§ 550(a), Plaintiff is entitled to recover from Defendant the

Avoidable Transfer(s), plus interest thereon to the date of payment and the costs of this action.




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                                            COUNT V
                     (Disallowance of all Claims – 11 U.S.C. § 502(d) and (j))

        47.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

        48.      Defendant is a transferee of transfers avoidable under sections 547, 548, and/or

549 of the Bankruptcy Code, which property is recoverable under section 550 of the Bankruptcy

Code.

        49.      Defendant has not paid the amount of the Avoidable Transfer(s), or turned over

such property, for which Defendant is liable under 11 U.S.C. § 550.

        50.      Pursuant to 11 U.S.C. § 502(d), any and all Claims of Defendant and/or its

assignee, against the Debtor’s chapter 11 estate or Plaintiff must be disallowed until such time as

Defendant pays to Plaintiff an amount equal to the aggregate amount of the Avoidable

Transfer(s), plus interest thereon and costs.

        51.      Pursuant to 11 U.S.C. § 502(j), any and all Claims of Defendant, and/or its

assignee, against the Debtor’s chapter 11 estate or Plaintiff previously allowed by the Debtor or

by Plaintiff, must be reconsidered and disallowed until such time as Defendant pays to Plaintiff

an amount equal to the aggregate amount of the Avoidable Transfer(s).

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that this Court grant it the following relief against

Defendant:

              A. On Plaintiff’s First, Second, Third and Fourth Claims for Relief, judgment in

                 favor of Plaintiff and against Defendant, avoiding all of the Avoidable Transfers

                 and directing Defendant to return to Plaintiff the amount of the Avoidable

                 Transfers, pursuant to 11 U.S.C. §§ 547(b), 548, and/or 549 and 550(a), plus

                 interest from the date of demand at the maximum legal rate and to the fullest

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             extent allowed by applicable law, together with the costs and expenses of this

             action including, without limitation, attorneys’ fees;

         B. On Plaintiff’s Fifth Claim for Relief, judgment in favor of Plaintiff and against

             Defendant disallowing any claims held or filed by Defendant against the Plaintiff

             until Defendant returns the Avoidable Transfers to Plaintiff pursuant to 11 U.S.C.

             § 502(d) and (j); and

         C. Granting Plaintiff such other and further relief as this Court may deem just and

             proper.

Dated: December 21, 2016
                                       /s/ Ronald S. Gellert
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